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                                       UN ITED STATES D ISTR ICT CO UR T

                                            DISTRIC T O F NEVADA

     USA
                          Plaintiff,
                                                                       DistrictNo. 2:10-CR-0361-LDG-RJJ
     VS..


     OSCAR N OE SANCHEZ-LA RIOS


                          Defendant.

                             ORDER TEM PORARILY UNSEALING TM NSCRIPT

            On April6th 201lthiscourtreceivedatranscriptorderform datedApril6,201lrequesting aTranscript of
    thehearing heldon October6.20l0and Februaly 24,20llfrom Mr.M arioD.Valencia,counselforDefendant
    OscarNoe Sanchez-Larios.,inwhich thehearingissealed.

             IT IS TH E O R DER O F TH E CO URT thatthesealedrecordingshallbeunsealed bytheC lerkforthe
    lim itedpurposeofprovidingatranscriptofhearingasrequestedby DefenseCounsel,


             IT IS FURTHER ORDERED thatthesealedrecording shallthereafterberesealedbytheClerk,until
    furtherorderofthisCoul-
                          t.


            IT IS FURTH ER O RDERED thatD efenseCounselshallnotdisclosethesealedcontentsofthetranscript
!   to anyoneotherthanthe representativesofthepartiesdirectly concernedwith thiscase.
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            DATED tbis .--
                         ''- day ofApril,20ll.

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                                                                                        .,.




                                                       LloydD .Geor e
                                                       U nited StatesDistrictJudge
